Case 1:17-cr-00101-LEK Document 365 Filed 10/30/18 Page 1 of 2   PageID #: 3484




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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF
   AMERICA,                            CR. NO. 17-00101 LEK

          Plaintiff,                   “DEFENDANT ANTHONY
                                       WILLIAMS’S MOTION TO
         v.                            SEVER HIS TRIAL FROM THE
                                       TRIAL OF CO-DEFENDANTS
                                       AND FOR LEAVE TO RE-
   ANTHONY T. WILLIAMS,                NEW;” DECLARATION OF
                                       COUNSEL; EXHIBIT “A;”
          Defendant.                   CERTIFICATE OF SERVICE




     “DEFENDANT ANTHONY WILLIAMS’S MOTION TO SEVER
      HIS TRIAL FROM THE TRIAL OF CO-DEFENDANTS AND
                   FOR LEAVE TO RE-NEW”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby files

   “DEFENDANT ANTHONY WILLIAMS’S MOTION TO SEVER
Case 1:17-cr-00101-LEK Document 365 Filed 10/30/18 Page 2 of 2   PageID #: 3485




   HIS TRIAL FROM THE TRIAL OF CO-DEFENDANTS AND

   FOR LEAVE TO RE-NEW” and other request(s) for relief attached

   as Exhibit “A” to this document.

       This motion was prepared by Mr. Williams and emailed to

   counsel for filing with this Court.

                                 Dated: October 30, 2018



                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
